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                                           United States Bankruptcy Court
                                        WESTERN DISTRICT OF TENNESSEE
                                                   CHAPTER 13
In Re: HYUN SOOK LEE KIM                                                                                    Chapter 13



Debtor(s)
DEBTOR(S):          (H)                                                               ______ S.S.#    xxx-xx- XXXX
                    (W) Hyun Sook Lee Kim                                                      S.S.# xxx-xx-4039________
ADDRESS:            1398 Rain Lake Ln. E.
                    Collierville, TN 38017
PLAN PAYMENT: Debtor(s) to pay                  $3,730.00                                      Monthly
          PAYROLL DEDUCTION() OR DIRECT(x)                                  BECAUSE: Payroll Deficient
EMPLOYER:                                                                                                   ______________


ADMINISTRATIVE: Pay filing fee, Trustee’s fee, and debtor’s attorney fee, pursuant to Court Order.
                                                                                                            MONTHLY
                                                                                                            PLAN PAYMENT


AUTO INSURANCE: ( X ) Not included in Plan (                              ) Included in Plan
CHILD SUPPORT: Future support through Plan to :                                                       .
                           Child support arrearage amount
PRIORITY-IRS                                                       $ 770.00                    0.0    %     $15.00 _______
HOME MORTGAGE: If no arrearage, ongoing payments are to be made directly by the debtor(s).
Federal National Bank                           Ongoing pmt. begins : January 2016                          $1,637.49
                              Approx. arrearage          $13,112.00                   Interest 0.00   %     $415.00
SECURED CREDITORS: Adequate protection payment will be 1/4 (25%) of proposed creditor monthly payment.
(retain lien 11 U.S.C. §1325(a)(5))                                VALUE OF                    RATE OF      MONTHLY
                                                                   COLLATERAL                  INTEREST     PLAN PAYMENT

Kia Motor Credit                                                   $ 5,000.00                  0.0    %     $120.00_______


UNSECURED CREDITORS: Absent a specific court order otherwise, all claims, other than those specifically provided for above,
shall be paid as general unsecured debts. General Unsecured creditors will receive TBD%
ESTIMATED TOTAL UNSECURED, NON-PRIORITY DEBT:                     $ 120,860.21
TERMINATION: Plan shall terminate upon payment of the above, approximately 60 months.
        FAILURE TO FILE TIMELY WRITTEN OBJECTION TO CONFIRMATION WILL BE DEEMED
                                   ACCEPTANCE OF PLAN.
